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                           EXHIBIT 4
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      Plans unveiled for master-planned community in St. George, comprising 10,000 new residences
      Written by Kimberly Scott   0   January 11. 2018
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      ST. GEORGE - Plans for a new master-planned community in St. George, which will comprise 10,000 new residences. were unveiled Thursday at
      the St. George Area Economic Development Summit.

      'Today, I'm here to formally introduce a unique and ambitious project underway in St. George," Rhys Weaver, president and COO of Clyde
      Companies, told the 900 summit attendees. "It's a master-planned community called Desert Color."

      The new development will be a 3,350-acre community located on Utah School and Institutional
      Trust Lands Administration property - east of Interstate 15 along Southern Parkway.

      Desert Color will be among the largest ever master -planned developments in Utah, Weaver said,
      and will be divided into four main land-use distr icts: mixed-use commercial district, recreation,
      resort and residential.



      As part of the plan, Desert Color will feature near ly 210 acres of developed parks and trails
      circulated throughout the community. Trail systems. parks and nature preserves will provide
      opportunities for residents. visitors and activity seekers to f eel a deeper connection to the
      community and the land.

      'The Desert Color vision is a big one," Weaver said, "(to include) 10,000 residences with single-
      family apartments and townhomes, 103-acre commercial district with office space, shopping.
      recreation. health fac ilities. schools. cultural activities and a resort facility with crystal lagoons. 1.100 rooms that will be a mixture of hotel. resort
      and vacation condos. a recreation area with parks. trails and activit ies that promote a healthy lifestyle, and a golf entertainment experience for
      golfers of all skill and age levels."

      For the last 18 months, the Desert Color master development team - consisting of Clyde Companies, Blue Diamond Capital and Merrill Trust
      Group - has worked with SITLA. St. George City and Washington County to make Desert Color a reality.
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        "At present, we have made significant strides," Weaver said. "If you drive out there, you'll see the earth is moving in a variety of directions."


        Property has already been purchased by some of the development's initial tenants. Weaver said. including Paparazzi Accessories. which is
        building a new corporate headquarters and warehouse on a 13.5-acre lot.

        The Desert Color property is located within St. George city limits and is generally described and bound by the Sun River development to the
        west; the Arizona border to the south; the Fort Pierce Industrial Park to the north; and the Desert Canyon development to the east.

        The total developable acreage for the parcel is approximately 6,800 acres, making the parcel by far the largest development parcel in
        Washington County, according to the Trust Lands Administration.

        'We are proud to create a new. innovative community that will enrich the St. George area and the state of Utah," Weaver said. "Desert Color is a
        decades long project. and we know it will succeed with the insight and guidance of our community partners."


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